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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1585V
                                    Filed: February 11, 2016
                                           Unpublished

****************************
GERRY RAMEY,                              *
                                          *
                     Petitioner,          *      Damages Decision Based on Proffer;
                                          *      Influenza;
                                          *      Shoulder Injury (“SIRVA”);
SECRETARY OF HEALTH                       *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                       *
                                          *
                     Respondent.          *
                                          *
****************************
Maximillian Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Darryl Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On December 29, 2015, Petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered a left shoulder injury as
a result of the administration of her October 1, 2014 influenza vaccination. Petition at
1-2. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

        On January 28, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for a shoulder injury related to vaccine administration
(“SIRVA”). On February 11, 2016, respondent filed a proffer on award of compensation
[“Proffer”] indicating petitioner should be awarded $125,000.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Based

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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on the record as a whole, the undersigned finds that petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $125,000.00 in the form of a check payable to
petitioner, Gerry Ramey. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS
___________________________________
                                    )
GERRY RAMEY,                        )
                                    )
       Petitioner,                  )    No. 15-1585V ECF
                                    )
              v.                    )    Chief Special Master Dorsey
                                    )
SECRETARY OF HEALTH                 )
AND HUMAN SERVICES,                 )
                                    )
       Respondent.                  )
___________________________________ )

                      PROFFER ON AWARD OF COMPENSATION 1

I.     Procedural History

       On December 29, 2015, Gerry Ramey (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to

-34, as amended. Petitioner alleges that as a result of receiving the influenza (“flu”) vaccine on

October 1, 2014, he suffered a shoulder injury related to vaccine administration (“SIRVA”) in

his left arm that was caused-in-fact by the vaccination. On January 27, 2016, respondent filed

her Vaccine Rule 4(c) report, conceding causation-in-fact for petitioner’s SIRVA. On January

28, 2016, the Chief Special Master issued a ruling on entitlement, finding that petitioner was

entitled to compensation for SIRVA.

II.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$125,000.00, which represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

       1
          This Proffer does not include attorneys’ fees and costs, which the parties intend to
discuss after the Damages Decision is issued.
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III.   Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $125,000.00, in the form of a check payable to petitioner. 2

Petitioner agrees.

                                             Respectfully submitted,

                                             BENJAMIN C. MIZER
                                             Principal Deputy Assistant Attorney General

                                             RUPA BHATTACHARYYA
                                             Director
                                             Torts Branch, Civil Division

                                             VINCENT J. MATANOSKI
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             LINDA S. RENZI
                                             Senior Trial Counsel
                                             Torts Branch, Civil Division

                                             /s/Darryl R. Wishard
                                             DARRYL R. WISHARD
                                             Senior Trial Attorney
                                             Torts Branch, Civil Division
                                             U. S. Department of Justice
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                                             Washington, D.C. 20044-0146
                                             Direct dial: (202) 616-4357
Dated: February 11, 2016                     Fax: (202) 616-4310




       2
          Should petitioner die prior to entry of judgment, respondent would oppose any award
for future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.
                                                   2
